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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

SABRINA R. BROWN
           Plaintiff,

        v.

UNITED STATES OF AMERICA, et al.,
          Defendant.                               Civil Action No. 2:21-cv-0069


In re: Sabrina R. Brown v. Aerian Joyner,
N.P. and Portsmouth Community Health
Center, Inc. t/a Park Place Family Medical
Center, et al, Case No. CL19004700-00,
Circuit Court for the City of Portsmouth

                                    NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that the United States of America, pursuant to 42 U.S.C.

§ 233(c) and 28 U.S.C. §§ 1441 and 1446, and on behalf of named defendant “Portsmouth

Community Health Center, Inc. t/a Park Place Family Medical Center” 1 hereby removes the matter

captioned Sabrina R. Brown v. Aerian Joyner, N.P. and Portsmouth Community Health Center,

Inc. t/a Park Place Family Medical Center, et al, Case No. CL19004700-00, now pending in the

Circuit Court for the City of Portsmouth, Virginia, to the United States District Court for the

Eastern District of Virginia, Norfolk Division.

        In support of this Notice, the United States of America, the only correct party defendant

for “Portsmouth Community Health Center, Inc. t/a Park Place Family Medical Center,” 2 states as



1
     Plaintiff incorrectly named as a defendant “Park Place Family Medical Center;” the proper
     name of the facility is “Park Place Family Health Center” (“PPFHC”).
2
     Portsmouth Community Health Center, Inc. is the official corporate parent of and does business
     as PPFHC.
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follows:

       l.      “Portsmouth Community Health Center, Inc. t/a Park Place Family Medical

Center” has been named as a defendant in an action styled Sabrina R. Brown v. Aerian Joyner,

N.P. and Portsmouth Community Health Center, Inc. t/a Park Place Family Medical Center, et al,

Case No. CL19004700-00, now pending in the Circuit Court for the City of Portsmouth, Virginia.

See Exhibit A. On or about October 26, 2020, PCHC received, through service or otherwise, a

copy of the initial pleading setting forth the claim for relief upon which such action is based. This

United States District Court embraces the place in which the state court action is pending.

       2.      The Complaint alleges medical malpractice by Portsmouth Community Health

Center, Inc. t/a Park Place Family Medical Center, and identifies Aerian Joyner, N.P., as

responsible for the alleged negligence that occurred at PPFHC. NP Joyner is an employee of

PCHC, which does business as PPFHC. In accordance with 42 U.S.C. § 233(c), the United States

Attorney for the Eastern District of Virginia has found and certified that PCHC, doing business as

PPFHC, and NP Joyner were acting within the scope of their employment as deemed employees

of the Public Health Service at the time of the incident in question. See Exhibit B.

       3.      Upon such certification by the United States Attorney, and because Plaintiff alleges

personal injury resulting from the performance of medical care and related functions occurring

within the scope of PPFHC’s and NP Joyner’s deemed PHS employment, this action is one that

“shall” be removed to this Court. 42 U.S.C. § 233(a) - (c); see also 28 U.S.C. §§ l346(b), 2679.

Removal is authorized “at any time before trial.” 42 U.S.C. § 233(c). The matter is currently

pending in state court, and no trial has occurred or been scheduled.

       4.      A copy of this notice is being filed on February 2, 2021, with the Clerk of the Circuit

Court for the City of Portsmouth, Virginia, pursuant to 28 U.S.C. § l446(d).



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                                  Respectfully submitted,

                                  UNITED STATES OF AMERICA, on behalf of its
                                  DEPARTMENT OF HEALTH AND HUMAN
                                  SERVICES

                                  RAJ PAREKH
                                  ACTING UNITED STATES ATTORNEY


                            By:   /s/                           ______________
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing was served this 2nd day of February, 2021,
by United States mail, first class postage paid, addressed to the following:

       Mark J. Favaloro, Esq.
       Favaloro Law
       295 Bendix Road, Suite 210
       Virginia Beach, VA 23452
       Counsel for Plaintiff



                                      By:     /s/                           ____________
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